Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 1 of 14




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                               CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                           INJUNCTIVE RELIEF SOUGHT


  FIRST COAST ENERGY LLP
  a Florida Limited Liability Partnership

        Defendant(s).
  ____________________________________/

                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues FIRST COAST ENERGY LLP, a Florida Limited Liability

  Partnership (“Defendant”), for declaratory and injunctive relief, attorneys’ fees, expenses and costs

  (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. § 12182 et. seq.,

  and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:

                                   JURISDICTION AND VENUE

         1.      This is a complaint for breach of contract and injunctive relief seeking enforcement

  of the Consent Decree (copy attached as Exhibit A) reached in the case of HOWARD COHAN v.

  FIRST COAST ENERGY L.L.P., 0:18-CV-60349-KMW (S.D. Fla.) (dismissed by order upon

  settlement) which arose out of Plaintiff’s claim of discrimination caused by certain barriers

  encountered by Plaintiff on Defendant’s properties that prevented Plaintiff from the full and equal

  enjoyment of places of public accommodation in violation of Title III of the Americans with

  Disabilities Act.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 2 of 14




          2.        This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

          3.        Venue is proper in this Court, Fort Lauderdale Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court For the Southern

  District of Florida in that all events giving rise to the lawsuit occurred in Broward County, Florida.

                                                   PARTIES

          4.        Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          5.        Upon information and belief, Defendant is the lessee, operator, owner and lessor of

  the Real Properties, which are subject to this suit, and are located at:

               a.   12490 Sheridan Street, Pembroke Pines, FL 33330 (“Sheridan Property”); and

               b. 13940 Pines Blvd., Pembroke Pines, FL 33027 (“Pines Blvd. Property”)

  and is the owner of the improvements where each property is located. The Real Properties are

  hereinafter collectively referred to as “Premises.”

          6.        Defendant is authorized to conduct, and is in fact conducting, business within the

  State of Florida.

          7.        Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 3 of 14




  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. As such,

  Plaintiff suffered from a “qualified disability” under the ADA. 42 U.S.C § 12101, et seq.

         8.       Plaintiff visited Defendant’s Premises on:

               a. Sheridan Property: September 1, 2017

               b. Pines Blvd. Property: August 13, 2017

         9.       At the time of Plaintiff’s visit to the Premises, Plaintiff required the use of fully

  accessible restrooms and fully accessible paths of travel throughout the facility. Plaintiff personally

  visited the Premises, but was denied full and equal access and full and equal enjoyment of the

  facilities, services, goods, and amenities within the Premises, even though he was a “bona fide

  patron”.

         10.      Defendant’s Premises are places of public accommodation as defined by Title III

  of the ADA and as such is governed by the ADA.

         11.      On or about February 15, 2018, Plaintiff filed a lawsuit against Defendant seeking

  to force Defendant to comply with the ADA and applicable regulations thereto. See HOWARD

  COHAN v. FIRST COAST ENERGY L.L.P., 0:18-CV-60349-KMW (S.D. Fla.).

         12.      On or about September 26, 2018, Plaintiff’s suit was dismissed upon stipulation

  and notice to the U.S. District Court that the parties had settled.

         13.      In connection with said dismissal, Plaintiff and Defendant entered into a Consent

  Decree (Exhibit A) on or about September 25, 2018.

         14.      The Consent Decree required Defendant to complete all modifications to the

  Premises by on or about September 25, 2019.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 4 of 14




          15.      Defendant has failed to complete the required modification(s) to the Premises as

  required by the ADA and the Consent Decree, and Defendant has failed to give notice of any

  reasons or documentation for non-compliance.

          16.      Plaintiff again personally visited Defendant’s Premises on the following dates (and

  prior to instituting this action):

                a. Sheridan Property: April 22, 2020 and March 25, 2021

                b. Pines Blvd. Property: December 3, 2019 and March 25, 2021

          17.      Plaintiff required the use of fully accessible restrooms and accessible paths of travel

  throughout the facility. Plaintiff was denied full and equal access and full and equal enjoyment of

  the facilities, services, goods, and amenities within the Premises, even though he was a “bona fide

  patron”.

          18.      Plaintiff, in his individual capacity, has shown that he will absolutely return to the

  Premises and avail himself of the services offered when Defendant modifies the Premises or

  modifies the policies and practices to accommodate individuals who have physical disabilities.

          19.      Plaintiff is continuously aware of the violations at Defendant’s Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

          20.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA.

          21.      Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 5 of 14




  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         22.     Completely independent of the personal desire to have access to these places of

  public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

  purpose of discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

  and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

  suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set

  forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

  intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         23.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 6 of 14




                                     COUNT I
                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         24.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 23

  above as if fully stated herein.

         25.      On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

         26.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 7 of 14




                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and accosts

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         27.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

         28.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

  Defendant’s Premises are places of public accommodation covered by the ADA by the fact they

  provide services to the general public and must be in compliance therewith.

         29.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 8 of 14




  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

           30.      Plaintiff has visited Premises, and has been denied full and safe equal access to the

  facilities and therefore suffered an injury in fact.

           31.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to its

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

           32.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

  Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

  Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

  for any subsequent violation.

           33.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

      I.         Sheridan Property

           Men’s Restroom

                 a. Providing grab bars of improper horizontal length or spacing as required along the

                    rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2

                    (rear and side).
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 9 of 14




              b. Failure to provide toilet paper dispensers in the proper position in front of the water

                  closet or at the correct height above the finished floor in violation of 2010 ADAAG

                  §§ 604, 604.7 and 309.4.

              c. Failure to provide the proper insulation or protection for plumbing or other sharp

                  or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                  and 606.5.

              d. Failure to provide lavatory faucets which do not require tight grasping, pinching or

                  twisting of the wrist in violation of 2010 ADAAG §§ 309, 309.4, 606, 606.4.

              e. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                  404, 404.1, 404.2, 404.2.9 and 309.4.

     II.      Pines Blvd. Property

           Men’s Restroom

           a. Providing a swinging door or gate with improper maneuvering clearance(s) due to a

              wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

              404.2.4 and 404.2.4.1.

           b. Failure to provide the correct height for a table surface or for a baby changing table, in

              violation of 2010 ADAAG §§902, 902.1, 902.2, 902.3, and/or §4.32.4 of the 1991 ADA

              Standards.

           c. Failure to provide paper towel dispenser at the correct height above the finished floor

              in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           d. Failure to provide proper knee clearance for a person with a disability under a counter

              or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606 and 606.2
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 10 of 14




          e. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                exceeding the limits for a person with a disability in violation of 2010 ADAAG §§ 404,

                404.1, 404.2, 404.2.9 and 309.4.

          Snack Area Seating

          f. Failure to provide seating for a person(s) with a disability that has the correct clear floor

                space for forward approach in violation of 2010 ADAAG §§ 902, 902.2, 305 and 306.

          g. Failure to provide a sufficient amount of seating when dining surfaces are provided for

                the consumption of food or drink for a person(s) with a disability in violation of 2010

                ADAAG §§ 226, 226.1, 902, 305 and 306.

          34.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 33 herein.

          35.      Although Defendant is charged with having knowledge of the violations, Defendant

  may not have actual knowledge of said violations until this Complaint makes Defendant aware of

  same.

          36.      To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

          37.      As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

  prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

  obligation to remove architectural barriers at the Premises where removal was readily achievable,

  as required by 28 C.F.R. §36.402.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 11 of 14




         38.      To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

  to design and construct such Premises such that they are readily accessible to and usable by

  individuals with disabilities, as required by 28 C.F.R. §36.401.

         39.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

         40.      All of the above violations are readily achievable to modify in order to bring

  Premises or the Facilities/Properties into compliance with the ADA.

         41.      In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

  standard applies and all of the violations listed in paragraph 33 herein can be applied to the 1991

  ADAAG standards.

         42.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facilities to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facilities until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by

                  Defendant is in violation of the ADA;

               2. That this Court enter an Order requiring Defendant to alter their facilities to make

                  them accessible to and usable by individuals with disabilities to the full extent

                  required by Title III of the ADA;
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 12 of 14




                3. That this Court enter an Order directing the Defendant to evaluate and neutralize

                   its policies, practices and procedures toward persons with disabilities, for such

                   reasonable time so as to allow the Defendant to undertake and complete corrective

                   procedures to Premises;

                4. That this Court award reasonable attorney’s fees, all costs (including, but not

                   limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;

                   and,

                5. That this Court award such other and further relief as it may deem necessary, just

                   and proper.

                                            COUNT II
                                       BREACH OF CONTRACT

          43.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 23

  above as if fully stated herein.

          44.      On or about September 25, 2018, Plaintiff and Defendant entered into a Consent

  Decree. (Exhibit A). Through this Consent Decree, Defendant agreed to make modifications to

  Defendant’s Premises as outlined in the agreement. The Consent Decree required Defendant to

  complete all modifications to the Premises by on or about September 25, 2019.

          45.      Plaintiff has performed all conditions precedent to be performed by him under the

  Consent Decree.

          46.      Since September 25, 2019, Defendant has failed to complete the modifications

  promised in the Consent Decree. Specifically, Defendant has failed to address the following

  violations:

     I.         Sheridan Property

          Men’s Restroom
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 13 of 14




              a. Provide a gate or door with a continuous opening pressure of no greater than 5 lbs.

                  not to exceed the limits for a person with a disability in compliance with 2010

                  ADAAG §§404, 404.1, 404.2, 404.2.9 and 309.4.

              b. Provide lavatory faucets which do not require tight grasping, pinching or twisting

                  of the wrist in compliance with 2010 ADAAG §§309, 309.4, 606, and 606.4.

              c. Provide the proper insulation or protection for plumbing or other sharp or abrasive

                  objects under a sink or countertop in compliance with 2010 ADAAG §§606 and

                  606.5

              d. Modify the rear grab bar to be at least from the centerline of the toilet, 12 inches to

                  the side wall and 24 inches to the open lavatory side. The top gripping surface of

                  the grab bar shall be between 33 and 36 inches above the floor.

              e. Modify the toilet paper dispenser so that it is 7 to 9 inches in front of the water

                  closet and 1 ½ inches below or 12 inches above the grab bars and the outlet of the

                  dispenser is ta least 15 inches minimum and 48 inches maximum above the finished

                  floor, in accordance with Sections 604.7 and 609.3.

     II.      Pines Blvd. Property

           Men’s Restroom

           a. Provide paper towel dispenser at the correct height above the finished floor in

              compliance with 2010 ADAAG §§606, 606.1 and 308.

           b. Provide baby changing station at the correct height above the finished floor in

              compliance with 2010 ADAAG §§204, 307, 307.1, 307.2.

           c. Remove the hand dryer entirely, or replace with a lower profile hand dryer which will

              be placed on a different restroom wall.
Case 0:21-cv-61747-AHS Document 1 Entered on FLSD Docket 08/20/2021 Page 14 of 14




          47.      Plaintiff has been damaged by the Defendant’s breach of the Consent Decree.

  Specifically, Plaintiff has had to retain the services of the undersigned attorney to pursue this action

  for breach of contract.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

                1. That this Court declares that Defendant has failed to comply with the Consent

                   Decree;

                2. That this Court enter an Order requiring Defendant to alter its facilities to make

                   them accessible to and usable by individuals with disabilities to the full extent

                   required by Title III of the ADA;

                3. That this Court award reasonable attorney’s fees, all costs (including, but not

                   limited to the court costs and expert fees) and other expenses of suit to the Plaintiff

                   and as provided in the Consent Decree; and,

                4. That this Court award such other and further relief as it may deem necessary, just

                   and proper.

          Dated August 20, 2021.

                                          Sconzo Law Office, P.A.
                                          3825 PGA Boulevard, Suite 207
                                          Palm Beach Gardens, FL 33410
                                          Telephone: (561) 729-0940
                                          Facsimile: (561) 491-9459

                                          By: /s/ Gregory S. Sconzo
                                          GREGORY S. SCONZO, ESQUIRE
                                          Florida Bar No.: 0105553
                                          SAMANTHA L. SIMPSON, ESQ.
                                          Florida Bar No.: 1010423
                                          Primary Email: greg@sconzolawoffice.com
                                          Primary Email: samantha@sconzolawoffice.com
                                          Secondary Email: alexa@sconzolawoffice.com
